                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-298

                                        No. COA20-835

                                       Filed 6 July 2021


     Hoke County, Nos. 17 JA 71-73, 18 JA 52

     IN THE MATTER OF: E.A.C., P.A.C., J.M.C., and J.C.-B.

           Appeal by respondent-mother from orders entered 25 March 2020 and

     18 September 2020 by Judge Warren McSweeney and Judge Regina M. Joe

     respectively in Hoke County District Court.         Heard in the Court of Appeals

     9 June 2021.


           Parent Defender Wendy C. Sotolongo, by Deputy Parent Defender Annick
           Lenoir-Peek, for appellant-respondent-mother.

           The Charleston Group, by Jose A. Coker, R. Jonathan Charleston, and Charles
           R. Smith, for petitioner-appellee Hoke County Department of Social Services.

           Matthew D. Wunsche for petitioner-appellee Guardian ad Litem.


           ARROWOOD, Judge.


¶1         Respondent-mother appeals from a ninety-day review order and two

     permanency planning orders. Respondent-mother contends the trial court erred in

     setting a permanent plan that did not include reunification, that the Hoke County

     Department of Social Services (“DSS”) failed to provide reasonable reunification

     efforts, and that the trial court could not grant guardianship of the children to foster
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     parents without a finding that respondent-mother was unfit or had acted

     inconsistently with her constitutionally protected status. For the following reasons,

     we vacate the trial court’s orders and remand for a new hearing.

                                        I.       Background

¶2         In July 2015, respondent-mother was shot in the head by her ex-boyfriend.

     The shooting caused respondent-mother to suffer a traumatic brain injury.              On

     8 October 2017, respondent-mother began acting erratically. Respondent-mother’s

     brother called law enforcement and respondent-mother was hospitalized overnight

     due to suicidal ideations.

¶3         On 9 October 2017, DSS received a report alleging improper supervision,

     improper discipline, and an injurious environment involving J.M.C. (“Julieta”),

     P.A.C. (“Patricio”), and E.A.C. (“Emmanuel”).1 DSS observed injuries to Julieta’s

     face. Although respondent-mother denied causing the injuries, Julieta, Patricio, and

     Emmanuel attributed the injuries to respondent-mother striking Julieta in the nose

     with a knife. DSS and respondent-mother entered into a Safety Agreement dated

     9 October 2017. As part of the Safety Agreement, respondent-mother agreed to seek

     domestic violence services and engage in mental health services. DSS sought to place




           1 Pseudonyms are used throughout the opinion to protect the identity of the juveniles

     and for ease of reading. The parties have stipulated to the aforementioned pseudonyms. All
     four children are at times referenced collectively as “juveniles.”
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     Julieta, Patricio, and Emmanuel with their maternal uncle. On 19 December 2017,

     the Cumberland County Department of Social Services notified DSS of pending

     criminal charges against the maternal uncle for sexual abuse.

¶4         On 20 December 2017, DSS filed petitions alleging Julieta, Patricio, and

     Emmanuel as dependent and neglected under N.C. Gen. Stat. §§ 7B-101(9) and 7B-

     101(15). DSS placed Julieta, Patricio, and Emmanuel in the care of Shanley and

     Theresa Morgan (“Morgans”). On 10 July 2018, by consent of all parties, the trial

     court appointed respondent-mother a Guardian ad litem (“GAL”) under N.C. R. Civ.

     P. 17 due to her traumatic brain injury.         On 29 October 2018, the trial court

     adjudicated Julieta, Patricio, and Emmanuel as dependent and neglected. The trial

     court filed a continuance order on 3 December 2018 keeping Julieta, Patricio, and

     Emmanuel in DSS custody.

¶5         On 3 December 2018, the UNC Medical Center in Chapel Hill notified DSS of

     J.C.-B.’s (“Juliana”) birth. At the time of Juliana’s birth, respondent-mother did not

     have stable housing or gainful employment. DSS also received information that

     respondent-mother had attempted to coordinate an illegal adoption of Juliana. On

     5 December 2018, DSS filed a petition alleging Juliana as dependent and neglected.

     DSS obtained nonsecure custody of Juliana and placed her with the Morgans along

     with her older siblings. On 1 February 2019, the trial court adjudicated Juliana as

     dependent and neglected.
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¶6         The trial court conducted four hearings during the dispositional phase:

     15 March 2019, 27 September 2019, 6 March 2020, and 19 June 2020.

¶7         At the 15 March 2019 hearing, respondent-mother entered into an Out of

     Home Family Services Agreement (“OHFSA”) in which she agreed to: (1) maintain

     stable employment or income to care for the needs of the juveniles; (2) participate in

     parenting classes; (3) maintain stable housing; (4) participate in mental health

     therapy; and (5) visit the juveniles to maintain a bond. DSS recommended a primary

     plan of reunification with a concurrent plan of guardianship to a court-approved

     caretaker, which the trial court adopted in the disposition order. Disposition for all

     four children was entered on 25 March 2019.

¶8         DSS encountered several barriers in achieving the primary plan of

     reunification. While conducting a home study of respondent-mother’s residence, DSS

     observed several issues, including wiring hanging from the ceiling, holes in the floor,

     scattered debris throughout the house, lack of proper heating, and an insufficient

     number of beds for the juveniles. Additionally, respondent-mother’s status as an

     undocumented immigrant created difficulty in obtaining employment and

     participating in parenting classes.    DSS referred respondent-mother to Catholic

     Charities of Raleigh’s office in Fayetteville to assist respondent-mother in applying

     for U Nonimmigrant Status as a victim of a violent crime (“U Visa”). Respondent-
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       mother did not file an application or provide the necessary documentation to secure

       a U Visa.

¶9           In July 2019, respondent-mother contacted DSS to execute Relinquishments of

       Minor for Adoption (“Relinquishments”) for the juveniles. Respondent-mother did

       not have counsel present, and upon receiving the unsolicited request, DSS advised

       respondent-mother to confer with her counsel. After respondent-mother conferred

       with her attorney, respondent-mother requested to independently proceed with the

       Relinquishments.    DSS provided respondent-mother with Relinquishments in

       Spanish and explained their ramifications.              Respondent-mother signed the

       Relinquishments of her own volition and free will.

¶ 10         The next hearing was conducted on 27 September 2019. The trial court set

       aside the Relinquishments upon respondent-mother’s motion to have them rescinded.

       The trial court set aside the Relinquishments because respondent-mother’s GAL was

       not present at the time of the signatures.           In the order setting aside the

       Relinquishments, the trial court found that DSS had not forced, coerced, or

       threatened respondent-mother to sign the Relinquishments.

¶ 11         After addressing the Relinquishments, the trial court proceeded with the

       review hearing. At the time of the hearing, Julieta, Patricio, and Emmanuel had

       been in DSS custody for 646 days, and Juliana for 296 days. At the hearing, DSS

       recommended changing the primary plan for Julieta, Patricio, and Juliana from
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       reunification to guardianship and changing the concurrent plan from guardianship

       to custody.2 Respondent-mother’s trial counsel objected to the proposed change in

       primary and concurrent plans. Over respondent-mother’s objection, the trial court

       changed the primary plans for Julieta, Patricio, and Juliana to guardianship with a

       court-approved caretaker with a concurrent plan of custody to a court-approved

       caretaker. The Ninety Day Review Order was entered 4 November 2019.

¶ 12          Based on respondent-mother’s failure to complete the requirements of her

       OHFSA, DSS requested to be relieved of further reunification efforts. DSS contacted

       multiple providers to assist respondent-mother with employment and housing

       services but failed to obtain assistance due to respondent-mother’s undocumented

       status. DSS contacted TT&amp;T Services (“TT&amp;T”) in Raeford, North Carolina regarding

       parenting classes. TT&amp;T did not have a Spanish-speaking service provider, and

       Julieta, Patricio, and Emmanuel did not meet TT&amp;T’s age criteria.          DSS also

       contacted the Cooperative Extension Parents as Teachers program. Respondent-

       mother did not meet the program’s criteria for services because the juveniles did not

       reside with respondent-mother and some were over the age of five.

¶ 13          DSS also contacted several service providers to assist respondent-mother in

       obtaining mental health services with a Spanish-speaking therapist, including



              2 Emmanuel’s primary plan was not changed because DSS was awaiting the results

       of a paternity test.
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       TT&amp;T, Greater Visions Behavioral Health, Renew Counseling Center of Raeford, and

       Daymark Recovery Center (“Daymark”). Daymark refused to provide services to

       respondent-mother due to her undocumented status. DSS also attempted to schedule

       therapy for respondent-mother at the Hoke County Health Department, but services

       were unavailable due to respondent-mother’s undocumented status.

¶ 14         After these unsuccessful attempts to obtain assistance, DSS transported

       respondent-mother to the Catholic Charities of Raleigh’s office in Fayetteville to seek

       assistance in applying for a U Visa. DSS provided an interpreter to assist at the

       appointment. At the appointment, respondent-mother was informed that the U Visa

       application required her to obtain birth certificates for all of her children, including

       those born in Mexico, and to provide financial or employment statements so that

       service fees could be waived.     Respondent-mother did not provide the required

       documentation and her U Visa application was never processed.

¶ 15         DSS also attempted to assist respondent-mother in obtaining neurological

       services.   DSS scheduled an appointment for respondent-mother at the Duke

       University School of Medicine Department of Neurology (“Duke Neurology”) in

       Durham, North Carolina. DSS intended to use reunification funds to financially

       assist respondent-mother with the services at Duke Neurology. DSS was informed

       that Duke Neurology would not provide services due to respondent-mother’s

       undocumented status.
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¶ 16         The trial court found that respondent-mother had not achieved stable housing,

       employment, participated in parenting classes, or mental health services as required

       by the OHFSA.     The trial court relieved DSS of further reunification efforts to

       respondent-mother in the 4 November 2019 review order.

¶ 17         The next permanency planning hearing was conducted on 6 March 2020. At

       the time of the hearing, Julieta, Patricio, and Emmanuel had been in DSS custody

       for over 808 days, and Juliana for 450 days. On 25 March 2020, the trial court

       entered a permanency planning order granting guardianship of Patricio, Julieta, and

       Juliana to the Morgans.3 In the permanency planning order, the trial court found

       that respondent-mother had waived her constitutionally protected status because she

       never provided DSS with the documentation required to obtain a U Visa and because

       she had not acquired stable housing throughout the pendency of the cases. Apart

       from respondent-mother’s inability to complete her OHFSA, the Morgans provided

       permanence for the juveniles. The Morgans provided for the juveniles’ medical and

       educational needs, and the juveniles established a strong bond with the Morgans,

       enjoying their own bedrooms and vacations together.

¶ 18         The last permanency planning hearing regarding Emmanuel was conducted

       on 19 June 2020. Although an assessment was completed on the home of a paternal



             3  Emmanuel’s case was bifurcated from his siblings due to the aforementioned
       paternity test.
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       uncle in Indiana, the trial court received evidence that Emmanuel feared being

       removed from the Morgans and separated from his siblings.                  The trial court

       determined that it was in Emmanuel’s best interest to remain with the Morgans. The

       trial court found that respondent-mother had waived her constitutionally protected

       status because she never provided DSS with the documentation required to obtain a

       U Visa and because she had not acquired stable housing throughout the pendency of

       the case. The permanency planning order granting guardianship of Emmanuel to the

       Morgans was entered 18 September 2020.

¶ 19         Respondent-mother filed written notices of appeal on 30 June 2020 and

       23 September 2020. On 28 July 2020, respondent-mother filed a petition for writ of

       certiorari to review the 4 November 2019 Ninety Day Review Order.4 This Court

       allowed respondent-mother’s petition on 17 August 2020.

                                           II.    Discussion

¶ 20         Respondent-mother raises several arguments on appeal. First, respondent-

       mother contends the trial court should not have acted as if it was holding a

       permanency planning hearing because the hearing was noticed as a review hearing

       and respondent-mother’s trial counsel objected. Second, respondent-mother argues

       the trial court operated under a misapprehension of law by “eliminat[ing]



             4 Respondent-mother’s petition for writ of certiorari was filed prior to the pendency of

       this appeal and is docketed under No. P20-417.
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       reunification efforts at a first review hearing,” by setting “a permanent plan which

       did not include reunification,” and by telling trial counsel that the trial court was not

       obligated to “list what the [respondent-m]other had to do to regain custody of her

       children.” Third, respondent-mother argues that DSS failed to provide reasonable

       reunification efforts and the trial court’s findings are not supported by competent

       evidence.   Finally, respondent-mother contends the trial court’s finding that

       respondent-mother acted inconsistently with her constitutionally protected status

       was contrary to the evidence presented.

                                      A.      Notice of Hearing

¶ 21         There is a sequential process for abuse, neglect, or dependency cases, wherein

       each required action or event must occur within a prescribed amount of time after

       the preceding stage in the case. In re T.R.P., 360 N.C. 588, 593, 636 S.E.2d 787, 791-

       92 (2006). An adjudicatory hearing must be held no later than 60 days after the filing

       of a petition, and an initial dispositional hearing follows the adjudication. N.C. Gen.

       Stat. §§ 7B-801(c), 7B-901 (2019). A review hearing must be “held within 90 days

       from the date of the initial dispositional hearing . . . [and] at least every six months

       thereafter.” N.C. Gen. Stat. § 7B-906.1(a) (2019). “Within 12 months of the date of

       the initial order removing custody, there shall be a review hearing designated as a

       permanency planning hearing.” N.C. Gen. Stat. § 7B-906.1(a). Hearings after an

       initial permanency planning hearing are automatically designated as permanency
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       planning hearings. N.C. Gen. Stat. § 7B-906.1(a). Prior to a review hearing, the clerk

       “shall give 15 days’ notice of the hearing and its purpose” to parents and other parties.

       N.C. Gen. Stat. § 7B-906.1(b).      Although the Juvenile Code has established a

       sequential hearing process, courts may combine and conduct the adjudicatory,

       dispositional, and permanency planning hearings on the same day. In re C.P., 258

       N.C. App. 241, 244, 812 S.E.2d 188, 191 (2018).

¶ 22         While dispositional hearings can be combined, a court cannot enter a

       permanency planning order at a hearing for which proper notice was not given, unless

       proper notice is waived. In re S.C.R., 217 N.C. App. 166, 171, 718 S.E.2d 709, 713
       (2011). “[A] party waives its right to notice under section 7B-907(a) by attending the

       hearing in which the permanent plan is created, participating in the hearing, and

       failing to object to the lack of notice.” In re J.P., 230 N.C. App. 523, 526, 750 S.E.2d

       543, 545 (2013) (footnote omitted) (citing In re J.S., 165 N.C. App. 509, 514, 598

       S.E.2d 658, 662 (2004)).

¶ 23         Respondent-mother argues the trial court erred in conducting a permanency

       planning hearing without providing adequate notice of the proceedings. We disagree.

       Respondent-mother attended and participated in the hearings on 15 March 2019 and

       27 September 2019 and at the latter hearing objected to the proposed change in

       permanent plan but made no objection to holding a permanency planning hearing.

       Because respondent-mother attended and participated in the hearings and failed to
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       object to the lack of notice, we hold that respondent-mother waived her right to notice

       under N.C. Gen. Stat. § 7B-907(a).

              B.     Elimination of Reunification Efforts &amp; Misapprehension of Law

¶ 24         Respondent-mother raises three issues with respect to the trial court’s

       permanency planning order: (1) the trial court erred in eliminating reunification

       efforts in an initial review hearing; (2) the trial court erred in setting a permanent

       plan that did not include reunification; and (3) the trial court misapprehended the

       law and its judicial role in stating that it was not obligated to “list what the

       [respondent-m]other had to do to regain custody of her children.” Because the first

       two issues are intertwined, we discuss them together.

                        1.     Eliminating Reunification at Initial Hearing

¶ 25         At the permanency planning stage involving a neglected juvenile, the trial

       court must adopt concurrent permanent plans consisting of a primary and secondary

       plan. N.C. Gen. Stat. § 7B-906.2(a), (b) (2019). If determined to be in the juvenile’s

       best interest, the trial court can adopt two of the six statutory plans, including

       adoption, guardianship, reinstatement of parental rights, and reunification. N.C.

       Gen. Stat. § 7B-906.2(a). When deciding which plans to impose, Chapter 7B instructs

       the trial court as follows concerning reunification:

                    At any permanency planning hearing, the court shall adopt
                    concurrent permanent plans and shall identify the primary
                    plan and secondary plan. Reunification shall remain a
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                    primary or secondary plan unless the court made findings
                    under G.S. 7B-901(c) or G.S. 7B-906.1(d)(3), the permanent
                    plan is or has been achieved in accordance with subsection
                    (a1) of this section, or the court makes written findings that
                    reunification efforts clearly would be unsuccessful or would
                    be inconsistent with the juvenile’s health or safety. The
                    finding that reunification efforts clearly would be
                    unsuccessful or inconsistent with the juvenile’s health or
                    safety may be made at any permanency planning hearing.
                    Unless permanence has been achieved, the court shall
                    order the county department of social services to make
                    efforts toward finalizing the primary and secondary
                    permanent plans and may specify efforts that are
                    reasonable to timely achieve permanence for the juvenile.

       N.C. Gen. Stat. § 7B-906.2(b).

¶ 26         The trial court must also make findings “which shall demonstrate the degree

       of success or failure toward reunification,” including:

                    (1) Whether the parent is making adequate progress
                        within a reasonable period of time under the plan.

                    (2) Whether the parent is actively participating in or
                        cooperating with the plan, the department, and the
                        guardian ad litem for the juvenile.

                    (3) Whether the parent remains available to the court, the
                        department, and the guardian ad litem for the juvenile.

                    (4) Whether the parent is acting in a manner inconsistent
                        with the health or safety of the juvenile.

       N.C. Gen. Stat. § 7B-906.2(d). Our Supreme Court has stated in the context of orders

       ceasing reunification efforts that “[t]he trial court’s written findings must address the
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       statute’s concerns, but need not quote its exact language.” In re L.M.T., 367 N.C. 165,

       168, 752 S.E.2d 453, 455 (2013).

                    “The essential requirement at the review hearing is that
                    sufficient evidence be presented to the trial court so that it
                    can determine what is in the best interest of the child.” In
                    light of this objective, neither the parent nor the county
                    department of social services bears the burden of proof in
                    permanency planning hearings, and the trial court’s
                    findings of fact need only be supported by sufficient
                    competent evidence.

       Id. at 180, 752 S.E.2d at 462 (citations omitted) (cleaned up).

¶ 27         In a permanency planning hearing held pursuant to Chapter 7B, the trial court

       can only order the cessation of reunification efforts when it finds facts based upon

       credible evidence presented at the hearing that support its conclusion of law to cease

       reunification efforts. In re Weiler, 158 N.C. App. 473, 477, 581 S.E.2d 134, 137 (2003).

¶ 28         “The language of Section 7B-906.2(b) seems plainly to provide that a trial

       court, in any permanency planning hearing, can omit reunification as a concurrent

       plan if it determines that reunification efforts are either futile or contrary to the

       juvenile’s well-being.” In re M.T.-L.Y., 265 N.C. App. 454, 462, 829 S.E.2d 496, 502
       (2019). However, “[t]he statutory requirement that ‘reunification shall remain’ a plan

       presupposes the existence of a prior concurrent plan which included reunification.

       Thus, reunification must be part of an initial permanent plan.” In re C.P., 258 N.C.

       App. at 245, 812 S.E.2d at 191.
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¶ 29         This Court’s decision in In re M.T.-L.Y. highlights a dichotomy created in In re

       C.P. between “reunification” and “reunification efforts.” In re M.T.-L.Y., 265 N.C.

       App. at 465, 829 S.E.2d at 504 (“In re C.P. creates a dichotomy between ‘reunification’

       and ‘reunification efforts.’ ”) In re C.P. held that while reunification must be part of

       an initial permanent plan, a trial court may cease reunification efforts at an initial

       permanency planning hearing. In re C.P., 258 N.C. App. at 245, 812 S.E.2d at 191.

       We echo the concerns raised in In re M.T.-L.Y. that “[i]f a trial court ceases

       reunification efforts, but includes reunification as a permanent plan, by the express

       language of Section 7B-1001(a)(5), an aggrieved parent does not have the statutory

       right to appeal that order.” In re M.T.-L.Y., 265 N.C. App. at 465, 829 S.E.2d at 504.

       We acknowledge, however, as this Court did in In re M.T.-L.Y., that we are bound by

       “In re C.P.’s broad holding that ‘reunification must be part of an initial permanent

       plan[.]’ ” Id. at 463-64, 829 S.E.2d at 503 (emphasis in original).

¶ 30         In this case, the 15 March 2019 hearing was designated as an initial

       dispositional hearing but became a combined dispositional and permanency planning

       hearing. In the 25 March 2019 disposition order, the trial court adopted “the primary

       plan of reunification and the concurrent plan of guardianship to a court-approved

       caretaker, as these plans of care for establishing permanency for the Juveniles at this

       time[.]” Accordingly, because reunification was part of the initial permanent plan,

       respondent-mother’s argument that the trial court could not as a matter of law
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       eliminate reunification at the subsequent 27 September 2019 hearing is without

       merit.

¶ 31            Under In re C.P., “a trial court can cease reunification efforts at the first

       permanency planning hearing if necessary findings of fact were made that showed

       reunification would be unsuccessful” or would be inconsistent with the juvenile’s

       health or safety. In re C.P., 258 N.C. App. at 245, 812 S.E.2d at 191. Here, the trial

       court made the following relevant findings of fact:

                      54. The primary plan for [Patricio, Julieta, and Juliana]
                          shall be changed from reunification concurrent with
                          guardianship to a court-approved caretaker to
                          guardianship with a court-approved caretaker
                          concurrent with custody to a court-approved
                          caretaker, as this is the best plan to achieve a safe and
                          permanent home for [Patricio, Julieta, and Juliana]
                          within a reasonable time.

                      ....

                      58. [Respondent-m]other has remained available to
                          [DSS], the Court, and the Juveniles’ GAL.

                      59. [Respondent-m]other’s efforts to obtain the U Visa by
                          obtaining information about her children was not
                          completed by [respondent-m]other.

                      60. The placement of the Juveniles with [respondent-
                          m]other within the next six (6) months is unlikely due
                          to the inability of [DSS] to establish services for
                          [respondent-m]other due to her immigration status
                          and the unavailability of services for [respondent-
                          m]other in the Spanish language.

                      61. Return to the Juveniles’ home would be contrary to
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                         their health and safety.

       (emphasis added). The trial court also concluded as a matter of law that it would “be

       in the best interests of the Juveniles” that DSS be authorized to make decisions on

       behalf of the juveniles, for their care and placement to remain the responsibility of

       DSS, and for DSS to arrange or provide for foster care or other suitable placement for

       the juveniles, and that “[i]t would be contrary to the welfare and best interest of the

       Juveniles to return to the home of any of the Respondents.”

¶ 32         In order to cease reunification efforts and remove reunification as a primary or

       secondary plan, the trial court was required to make necessary findings of fact that

       showed reunification would be unsuccessful or inconsistent with the juveniles’ health

       or safety. Although the trial court’s findings of fact do provide that changing the

       primary plan was “the best plan to achieve a safe and permanent home for [the

       juveniles] within a reasonable time[,]” and that returning “to the Juvenile’s home

       would be contrary to their health and safety[,]” the findings do not provide that

       reunification would be “clearly unsuccessful” as required by N.C. Gen. Stat. § 7B-

       906.2(b). Instead, the findings provide that placing the juveniles with respondent-

       mother within the next six months would be “unlikely.”

¶ 33         With respect to the findings required by N.C. Gen. Stat. § 7B-906.2(d), the trial

       court found that respondent-mother had remained available to the Court, DSS, and

       GAL, but did not specifically address the other three required findings. Rather than
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       addressing whether respondent-mother was making adequate progress within a

       reasonable period of time, whether respondent-mother was actively participating in

       or cooperating with the plan, or whether respondent-mother was acting in a manner

       inconsistent with the health or safety of the juveniles, the trial court simply stated

       that DSS was “unable to assist [respondent-m]other in accomplishing the issues

       addressed in her [OHFSA] due to the unavailability of services that can or will work

       with [respondent-m]other[,]” and that respondent-mother had not completed her

       efforts to obtain a U Visa.

¶ 34         These findings are insufficient to demonstrate the degree of success or failure

       towards reunification. The findings only demonstrate that DSS was unable to locate

       any services that could help respondent-mother progress towards reunification and

       that respondent-mother was unable to make progress towards reunification because

       she was unable to obtain a U Visa. We hold the trial court erred in removing

       reunification as a primary or secondary plan and in ceasing reunification efforts

       without making sufficient findings of fact. We vacate the trial court’s orders and

       remand for further proceedings.

                                     2.   Misapprehension of Law

¶ 35         “Reversal is warranted where a trial court acts under a misapprehension of the

       law.” In re M.K., 241 N.C. App. 467, 475, 773 S.E.2d 535, 541 (2015). “[W]here it

       appears that the judge below has ruled upon [a] matter before him upon a
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       misapprehension of the law, the cause will be remanded . . . for further hearing in the

       true legal light.” In re S.G.V.S., 258 N.C. App. 21, 24, 811 S.E.2d 718, 721 (2018)

       (citation omitted).

¶ 36         We review an order ceasing reunification to determine “whether the trial court

       abused its discretion with respect to disposition.” In re J.H., 373 N.C. 264, 267, 837

       S.E.2d 847, 850 (2020) (citations omitted). “An abuse of discretion occurs when the

       trial court’s ruling is so arbitrary that it could not have been the result of a reasoned

       decision.” In re N.G., 186 N.C. App. 1, 10-11, 650 S.E.2d 45, 51 (2007) (quoting In re

       Robinson, 151 N.C. App. 733, 737, 567 S.E.2d 227, 229 (2002)), aff’d, 362 N.C. 229,

       657 S.E.2d 355 (2008).

¶ 37         Respondent-mother contends that the trial court erred in stating “I don’t think

       it’s my position and authority to lay out the specific acts that your client has to do or

       should do” because under N.C. Gen. Stat. § 7B-904, “the trial court is authorized to

       enter dispositions that clearly spell out what a parent needs to do to regain custody.”

       DSS cites N.C. Gen. Stat. § 7B-904 in asserting that “the court is authorized to direct

       certain orders to parents, but the court’s authority is limited by the Juvenile Code.”

       DSS further notes that an OHFSA had been in place since 2018 delineating the steps

       required for respondent-mother to regain custody of the juveniles.

¶ 38         We hold that the trial court exercised its discretion in choosing to decline

       enumerating specific requirements, and further hold that the trial court did not abuse
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       its discretion in doing so.    Respondent-mother was aware of and attempting to

       participate in the OHFSA at the time of the hearing, and any injury caused by the

       trial court’s decision to not lay out the specific acts required of respondent-mother

       was harmless.

                                     C.   Remaining Arguments

¶ 39         Respondent-mother further contends the trial court’s findings are not

       supported by any competent evidence because DSS failed to provide reasonable

       reunification efforts, and that the trial court could not grant guardianship of the

       children to the Morgans without a finding of unfitness or that respondent-mother

       acted inconsistently with her constitutionally protected parental status. Because we

       vacate the trial court’s orders on other grounds, it is unnecessary to address

       respondent-mother’s remaining arguments.

                                          III.   Conclusion

¶ 40         For the forgoing reasons, we hold that respondent-mother waived any objection

       to notice of the permanency planning hearings and that the trial court did not err in

       establishing reunification as a permanent plan at the initial hearing. We further

       hold that the trial court erred in ceasing reunification efforts and removing

       reunification as a permanent plan because the permanency planning order did not

       contain sufficient findings of fact. We vacate the trial court’s orders and remand for

       a new permanency planning hearing.
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VACATED AND REMANDED.

Judges TYSON and INMAN concur.
